

People v Reid (2020 NY Slip Op 06723)





People v Reid


2020 NY Slip Op 06723


Decided on November 17, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 17, 2020

Before: Friedman, J.P., Renwick, Webber, González, JJ. 


Ind No. 5219/13 5219/13 Appeal No. 12386 Case No. 2016-1322 

[*1]The People of the State of New York, Respondent,
vSaif Reid, Defendant-Appellant.


The Feinman Law Firm, White Plains (Steven Feinman of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Alice Wiseman of counsel), for respondent.



Judgment, Supreme Court, New York County (Bonnie G. Wittner, J.), rendered April 1, 2015, convicting defendant, after a jury trial, of attempted murder in the second degree and two counts of criminal possession of a weapon in the second degree, and sentencing him, as a second violent felony offender, to an aggregate term of 20 years, unanimously affirmed.
The verdict was based on legally sufficient evidence and was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis for disturbing the jury's determinations concerning credibility and identification. Defendant's guilt was established by reliable eyewitness testimony, corroborated by a surveillance videotape and other evidence. The fact that the pistol used in the crime was also used in a later crime, not committed by defendant, does not warrant a different conclusion.
We find no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 17, 2020








